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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



IN RE: DOMESTIC DRYWALL                                  MDL No. 2437
ANTITRUST LITIGATION                                     13-MD-2437


THIS DOCUMENT RELATES TO:
ALL DIRECT PURCHASER ACTIONS



    ORDER RE DPP SETTLEMENT CLASS COUNSEL’S REQUEST TO UTILIZE
        SETTLEMENT FUNDS FOR ONGOING LITIGATION EXPENSES


       AND NOW, this 20th day of August, 2015, this Court having granted final approval of

the Direct Purchaser Plaintiff’s (DPP’s) settlements with TIN and USG, by separate orders dated

today; having held a fairness hearing on July 15, 2015; having considered all the submissions

and arguments with respect thereto; and for the reasons stated in the accompanying

memorandum; it is hereby ORDERED that DPP Settlement Class Counsel’s request to utilize up

to $500,000 from the TIN Settlement Fund and $2,000,000 from the USG settlement fund to pay

Plaintiff’s litigation expenses is GRANTED IN PART and DENIED IN PART, without

prejudice, as follows:

       1.      Counsel are authorized to use $1,811,896.00 of the settlement funds to pay expert

               costs that have been incurred but not yet paid;

       2.      These authorized expenses shall be paid proportionally from the settlement funds

               provided by TIN and USG, such that approximately 4% of the funds from each

               Defendant’s settlement will be used for litigation expenses at this time;
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         3.        At this time, Counsel are not authorized to use the settlement funds to defray or

                   reimburse any other litigation expenses;

         4.        After the Court rules on the pending summary judgment motions, and if this case

                   then proceeds against one or more remaining Defendants, Counsel may reapply

                   for permission to use more of the settlement funds for litigation expenses.



                                                           BY THE COURT:

                                                           /s/ Michael M. Baylson

                                                           MICHAEL M. BAYLSON, U.S.D.J.
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